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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,
                                         CIVIL ACTION FILE
v.
                                         NUMBER 1:15-cr-0082-TCB
GINO SHULER,

      Defendant.


                                ORDER

      This case comes before the Court on Magistrate Judge Linda T.

Walker’s Final Report and Recommendation (the “R&R”) [615] which

recommends denying Defendant Gino Shuler’s motion [292] to suppress

evidence. Shuler has filed objections to the R&R [625].

      On March 11, 2015, Shuler was indicted with one count of

conspiracy, five counts of stealing money of the United States, and five

counts of aggravated identity theft. Shuler seeks to suppress evidence

collected and seized by the police when he was arrested after a traffic

stop for following too closely. The facts of the case are not disputed and
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the Court adopts the facts as set forth in the R&R. Shuler objects to two

of the conclusions reached by the magistrate judge.

I.    Legal Standard on Review of a Magistrate Judge’s R&R

      A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take

different forms, however, depending on whether there are objections to

the R&R. A district judge must “make a de novo determination of those

portions of the [R&R] to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C); see also Jeffrey S. v. State Bd. of Educ., 896 F.2d 507, 512

(11th Cir. 1990) (A judge must “give fresh consideration to those issues

to which specific objection has been made by a party.”). Those portions

of the R&R to which no objection is made need only be reviewed for

clear error. Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006)




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(per curiam) (quoting Diamond v. Colonial Life & Accident Ins., 416

F.3d 310, 315 (4th Cir. 2005)). 1

      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

      The district judge also has discretion to decline to consider

arguments that were not raised before the magistrate judge. Williams v.

McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009). Indeed, a contrary rule

“would effectively nullify the magistrate judge’s consideration of the



      1 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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matter and would not help to relieve the workload of the district court.”

Id. (quoting United States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)).

       After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or

recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

II.    Shuler’s Objections to the R&R

       Shuler objects to two of the conclusions reached by the magistrate

judge in the R&R. Specifically, Shuler objects to the conclusion that his

conduct or his brother’s conduct during the traffic stop gave rise to a

suspicion of illegal activity. He also objects to the conclusion that

Sergeant Brett Newman’s investigation beyond the scope of the traffic

violation did not unreasonably prolong the duration of the stop. As such,

the Court will consider these questions de novo. 2




       2 In analyzing the behavior of Newman, the Court applies the law as it

existed in 2012, when the search occurred. See Davis v. United States, 564 U.S. 229,
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      A.    Shuler’s and Maurice’s Conduct Gave Rise to a
            Reasonable Suspicion of Illegal Activity

      The Court agrees with the magistrate judge that the conduct of

Shuler and his brother, Maurice, gave rise to a suspicion of illegal

activity.

      Under Terry v. Ohio, 392 U.S. 1, 20 (1968), an officer’s actions

during a traffic stop must be “reasonably related in scope to the

circumstances which justified the interference in the first place.”

“Furthermore, the duration of the traffic stop must be limited to the

time necessary to effectuate the purpose of the stop.” United States v.

Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001) (emphasis omitted). “The

traffic stop may not last ‘any longer than necessary to process the traffic

violation’ unless there is articulable suspicion of other illegal activity.”

Id. (quoting United States v. Holloman, 113 F.3d 192, 196 (11th Cir.

1997)).

      Shuler is incorrect in arguing that the magistrate judge

“[r]ejected” the argument that some of Shuler’s behavior could have


239–41 (2011) (exclusionary rule does not apply in cases where police conduct a
search in reasonable reliance on current binding precedent).

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been the result of normal nervousness or his normal behavior. [625] at

2. The magistrate judge stated, and the Court agrees, that “while

individually each of these facts can be explained by innocent behavior

and would not be enough to satisfy the reasonable suspicion standard,

collectively under Eleventh Circuit law, they justify Sergeant Newman’s

investigation.” [615] at 21. In fact, on review, a court “may not consider

each fact only in isolation, and reasonable suspicion may exist even if

each fact ‘alone is susceptible of innocent explanation.’” United States v.

Bautista-Silva, 567 F.3d 1266, 1272 (11th Cir. 2009) (quoting United

States v. Arvizu, 534 U.S. 266, 277 (2002)).

     Shuler argues that specific instances of behavior, taken

separately, were no more than hunches or guesses on the part of

Newman. However, this argument admittedly ignores Newman’s

testimony while improperly separating each instance objected to by

Shuler. Newman testified at length regarding several specific behaviors

and articulated the suspicions raised by the behaviors, both

individually and collectively.




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     For example, Newman testified that something burning was

thrown from Shuler’s car and hit the patrol car. When asked to identify

what hit the patrol car, Shuler first denied throwing anything out the

window and then admitted to throwing a cigarette out of the car.

Following this misstatement, Shuler immediately made a number of

evasive comments to Newman when Newman questioned him regarding

the strong smell of an air freshener coming from the car. Newman

testified that this series of events led him to suspect that Shuler was

masking the smell of marijuana in the car.

     Shuler and Maurice exhibited signs of nervousness, which on its

own might not be enough to create an articulable suspicion of illegal

activity, but which is a valid consideration when looking at the totality

of the circumstances. See, e.g., United States v. Harris, 928 F.2d 1113,

1117 (11th Cir. 1991) (citing driver’s extreme nervousness as a factor).

Additionally, Shuler’s nervousness did not decrease but continued even

after Shuler told him that he was only going to receive a warning.

Newman explained that this behavior was contrary to his experience as

a police officer dealing with motorists.

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     Neither Shuler nor Maurice could explain where they were

travelling, beyond the general destination of Macon. Though a street

name was given, Shuler could not answer where in Macon the street

was located and could only give the first name of the person they were

supposedly meeting, Rick. Shuler admitted to knowing Rick for a year,

but did not know his last name and could not identify where he met

Rick, beyond stating that Shuler met him in a club in Atlanta. Maurice

made evasive, repetitive statements that were not responsive to the

basic question of why they were going to Macon and who they were

meeting. Newman testified that the use of first names only and

claiming not to know further details is a common practice among drug

traffickers in order to conceal identities. Moreover, “inconsistent

statements about destination” are another factor that may contribute to

an objectively reasonably suspicion of illegal activity. United States v.

Pruitt, 174 F.3d 1215, 1220 (11th Cir. 1999).

     Taken together, the initial lie about throwing something burning

from the car, the evasive answers regarding the air freshener, the

inconsistent, incomplete, and evasive answers regarding their travel

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destination and the person they were allegedly meeting, in addition to

the exhibited nervousness throughout the encounter, is sufficient to

create an objectively reasonable suspicion of illegal activity. Newman’s

testimony cited above sufficiently articulates several specific and

reasonable suspicions raised by Shuler’s and Maurice’s behavior during

the stop.

     B.     Newman’s Investigation Outside the Scope of the
            Traffic Violation Did Not Unreasonably Prolong the
            Duration of the Stop

     Shuler also objects to the magistrate judge’s finding that

Newman’s investigation did not unreasonably prolong the duration of

the stop. The stop lasted approximately fifteen minutes from the

beginning of the stop until the K-9 unit alerted.

     During a legal stop, police officers may prolong the detention to

investigate a driver’s license and registration, conduct a criminal

history check, and conduct further investigation if the police officer has

an “articulable suspicion of other illegal activity.” United States v.

Boyce, 351 F.3d 1102, 1106 (11th Cir. 2003) (quoting Purcell, 236 F.3d

at 1277). As discussed above, Newman had an objectively reasonable,

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articulable suspicion of illegal activity based on the behavior of Shuler

and Maurice.

     “The touchstone of the Fourth Amendment is reasonableness.”

Florida v. Jimeno, 500 U.S. 248, 250 (1991).

     The scope of the intrusion permitted will vary to some extent
     with the particular facts and circumstances of each case.
     This much, however, is clear: an investigative detention
     must be temporary and last no longer than is necessary to
     effectuate the purpose of the stop. Similarly, the
     investigative methods employed should be the least intrusive
     means reasonably available to verify or dispel the officer’s
     suspicion in a short period of time.

Florida v. Royer, 460 U.S. 491, 500 (1983). The Eleventh Circuit has

found that fourteen minutes was not an unreasonable amount of time

for a traffic stop and that much longer detentions have been approved

under the facts of each case. Purcell, 236 F.3d at 1279. Here, Newman’s

investigation in both scope and duration were reasonable.

     Of the roughly fifteen-minute duration of the stop, nearly four and

a half minutes were spent retrieving and reviewing the report on

Shuler’s and Maurice’s licenses and criminal histories. In the three

minutes prior to that, at the beginning of the stop, Shuler had already

lied about throwing something from the car, evaded questions regarding
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the air freshener, exhibited nervous behavior, and Shuler and Maurice

had both already made conflicting and vague statements to Newman

regarding their destination and purpose. From a very early point in the

stop, Newman had a reasonable suspicion of illegal activity. As a result,

Newman’s continued questioning after the license check, while writing

out the warning citation, was justified by his reasonable suspicion.

Further, the investigative methods employed were minimally invasive

and resolved Newman’s suspicion in a short period of time. Royer, 460

U.S. at 500. Thus, the Court finds the duration of the traffic stop

reasonable and in accord with the constitutional requirements of the

Fourth Amendment.

IV.     Conclusion

        The Court has carefully reviewed the R&R and Shuler’s objections

thereto. Having done so, the Court finds no clear error in the portions of

the R&R not objected to. Macort, 208 F. App’x at 784. Further, the

Court finds that Magistrate Judge Walker’s factual and legal

conclusions were correct and that Shuler’s objections have no merit.




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Therefore, the Court adopts as its Order the R&R [615]. Shuler’s motion

[292] to suppress is denied.

     IT IS SO ORDERED this 6th day of December, 2017.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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